Case 2:08-cv-06090-FMC-AGR Document 29-4 Filed 07/22/09 Page 1of7 Page ID #:175

 

 

 

 

 

2
1 UNITED STATES DISTRICT COURT
2 CENTRAL DISTRICT OF CALIFORNIA
3
4 STEVEN BENHAYON, )
)
5 Plaintiff, )
}
6 Vs. } No. CVO8-06090FMC
} (AGRx)
7 ROYAL BANK OF CANADA, a }
Canadian company, business )
3 form unknown, et al., )
)
9 Defendants. }
)
LO
il
12
13
14
15 Deposition of STEVEN BENHAYON, taken on
16 pehalf of Defendants, at 633 West Fifth Street,
17 53rd Floor, Los Angeles, California, commencing at
18 10:14 a.m. Thursday, June 25, 2009, before BETH
19 FELIX, Certified Shorthand Reporter No, 12766.
20
2i
22
23
24
a5
A&E COURT REPORTERS (213) 955-0070 FAX: (213) 955-0077
EXHIBIT. A. pace_Z.

 
Case 2:08-cv-06090-FMC-AGR Document 29-4 Filed 07/22/09 Page 2of7 Page ID #:176

 

103

1 Q Okay. Mr. Benhayon, are you aware of any

2 reagon why you won't be able to give your best, most

3 accurate and most truthful testimony for the remainder

4 of today?

5 A No.

6 Q Okay. And you promise to let me know if at

7 any point you feel that you need a break?

8 A Yes,

9 ® And you promise to let me know if at any point
10 you feel like you are unable to give your best, most
LL accurate and most truthful testimony?

12 A Yes.
13 Q You understand you're still under oath?
14 A Yes,
ps Q Okay. When did you first learn that RBC was
| 16 terminating your employment?
t
17 A The morning they terminated us.
18 Q Which would be September 17th; correct?
19 A Correct.
20 Q How did you find out?
21 A T was called by Argyle Burke and another woman
22 in Minneapolis I believe.
23 Q Do you remember her name?
24 A No.
25 QO Tracy McDonald?

 

 

 

A&E COURT REPORTERS (213) 955-0070 PAX), 255-0077 A __., PAGE Aa
Case 2:08-cv-06090-FMC-AGR Document 29-4 Filed 07/22/09 Page 3o0f7 Page ID #:177

o ~~ mA Mm fe

LO
11
12
13
14
15
16
17
18
19
20
2i
aa
23
24

25

106

 

 

there was -- you had only this one conversation with
Argyle and the other contact person; correct?

A Correct.

Q And subsequent to September 17th, did anybody
at RBC ever give you any additional information about
the reason you were being terminated?

A No.

Q Are you aware that other employees in the
fixed-income group were terminated at the same time?

A Yep. Yes.

Q Are you aware of how many?

A Approximately but I don't remember the number.

Q Can you give me a complete list of all those
who were terminated on September 17th?

A No,

Q Are you aware that all of the employees in the
fixed-income group in the San Francisco office were
terminated on that day?

A Yes.

Q Did anyone tell you the effective date of your
termination?

A September 17th.

° Okay. Prior to September 17th, did you think
that you were going to be terminated prior to your

vesting date on January lst, 2008?

 

 

A&E COURT REPORTERS (213) 955-0070 FAX: (213) 955-0077

exHipiT..___, PAGE
Case 2:08-cv-06090-FMC-AGR Document 29-4 Filed 07/22/09 Page 4of7 Page ID #:178

wo

oo nN

 

10
11
12
13
14
LS
16
17
18
19
20
al
22
23
24
25

120

 

 

are three Roman numerals.

A Sure. All right.

Oo Roman Numeral 2 reads, quote, On September 17,
2007, I was laid off. On November lst, 1990, I was
hired. At the time of the layoff, I worked as a
managing director, and I was earning $365,000 per year,
end quote.

Was your job title managing director?

A As far as I knew at the time, it was.

Q Were there any other managing directors
associated with the San Francisco office?

A t'm not sure of that. I can only guess that a
few of the senior guys had gotten that title.

Q Is that the highest title that is available to
a salesperson?

MS. MYRON: Lacks foundation. Calls for
speculation.

THE WITNESS: It's, actually, true. Tf
don't -- you know, I don't know. You can cali it
whatever you want, a senior VP, a senior salespeople.
You know, I think that's firm based, TI don't think
there's an industry standard of exactly what you are
called for who you are.

BY MR. DECKER:

Oo Well, it meant within RBC.

 

 

A&E COURT REPORTERS (213) 955-0070 FAX: (213) 955-0077

EXHIBIT Wf. PAGE

 

5

 

»
Case 2:08-cv-06090-FMC-AGR Document 29-4 Filed 07/22/09 Page 5of7 Page ID #:179

 

190

1 | here -- this $330,000 or limiting it to the amount that

2 was going to vest on January ist, 2008, those

3 represented company contributions; right?

4 A Correct.

5 o Right. And they would be governed by this

6 provision; correct?

7 MS. MYRON: Calls for a legal analysis and

8 | conclusion. I'm going to instruct him not to answer

9 that.
10 (Instruction not to answer.)
11 MR. DECKER: That's not a basis not to answer
12 for erying out loud. Can you withdraw the instruction?
13 MS. MYRON: Wo. Give him a better question.
14 He's never seen the document before today.
15 THE WITNESS: I don't know. I've never seen
16 Lt.
L7 BY MR. DECKER:
18 9 Okay. All right. Well, then take a look at
19 section 4,2. I'd like you to read 4.2, and then after
20 you're done reading 4.2, let me know that you're ready
21 to answer questions. You ready?
ae A Yes.
| 23 Q Okay. You -- obviously, you're not dead;
24 right? So you didn't leave RBC because of death;
25 correct?

 

 

 

A&E COURT REPORTERS (213) 955-0070 FAX: (213) 955-0077
expat A page @

nrumierarnreeemnseniecenrt mire &
Case 2:08-cv-06090-FMC-AGR Document 29-4 Filed 07/22/09 Page 6of7 Page ID #:180

LO
Ll
12
L3
14
15
16
17
18
19
20
21
22
23

 

24
25

191

 

 

A Correct.

O And you didn't leave RBC because of
disability; correct?

A Correct.

Qo Okay. And upon your separation, you didn't
enter into a business transition agreement with the
private client group; correct?

A Correct.

Q And you didn't meet the requirements under the
plan that are described here in little 2; right?

MS. MYRON: Little 2 doesn't identify what a
plan for retirement is.
BY MR. DECKSR:

9 Weil, if we look at little 2, right, it says
that -- it refers to the separation of a participant
who prior to separation with the consent of the
participating employer has, one, entered into a
business transaction ~~

MS. MYRON: Slow down.

MR. DECKER: I'm sorry.

MS. MYRON: Why don't you just ask him if he's
retired. That might help you.

MR. SCHNELL: Yes.
BY MR. DECKER:

Q Okay. Have you retired?

 

 

A&E COURT REPORTERS (213) 955-0070 FAX: (213) 955-0077

exuip Ar PAGE _Z

ren title rieemmancence |
Case 2:08-cv-06090-FMC-AGR Document 29-4 Filed 07/22/09 Page 7of7 Page ID #:181

 

io Oo WY DH ui |e w NN

LO
11
12
13.
L4
15
16
17
18
19
20
al
22
23
24

25

 

192
A No.
Q Okay. And did you leave on account of
retirement?
A No.
Q All right. And you're not aware of any other

exception te the rule in 4.5 that would apply to you;

right?
A

Q

wanted to have you look at 24 just so we can have the

numbers in front of us and don't have to approximate.

Q

to that table, market value by plan year. At the very

top of the next page, there's a total; right?

BY MR. DECKER:

Q

A

Q

money that you forfeited when you were terminated;

Correct?

"forfeited."

No. I've never seen this before.
Okay. Let's go to -- what was it? 24?
MS. MYRON: No, 25 you said.

MR. DECKER: I know. I'm sorry. I realized I

Okay. So let's go back to page 2. Let's go

MS. MYRON: Oh, yes.

$334,220.03; right?

Correct.

Okay. Which is the total amount of unvested

MS. MYRON: Object as to the use of the term

 

 

A&E COURT REPORTERS (213) 955-0070 FAX: (213) 955-0077

exuipir__A pace __S

some LEITH EE

 

4
